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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 DIAMONIK HOUGH                             :
           Plaintiffs,                      :         CIVIL ACTION
                                            :         No. 20-3508
           v.                               :
CITY OF PHILADELPHIA                        :

              Defendants.                   :


                                        ORDER

      AND NOW, this 14th day of December 2020, as stated on the record during the

conference held on December 14, 2020, it is ORDERED that the case is STAYED until

January 25, 2021.




                                         __s/ANITA B. BRODY, J.___
                                         ANITA B. BRODY, J.




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